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                                                   April 19, 2023

VIA CM/ECF

Deborah Hunt, Clerk of Court
U.S. Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, Ohio 45202

       RE:    State of Tennessee, et al. v. Department of Education et al., No. 22-5807
              (argument scheduled for April 26, 2023)

Dear Ms. Hunt:

       This letter is in response to the Court’s order of April 10, 2023, directing the

parties to address how, if it at all, this case is affected by the Department of

Education’s Notices of Proposed Rulemaking under Title IX of the Education

Amendments of 1972.

       1. On July 12, 2022, the Department published in the Federal Register an

NPRM in which it proposed to amend Title IX’s implementing regulations in various

ways. Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving

Federal Financial Assistance, 87 Fed. Reg. 41,390 (July 12, 2022) (July 2022 NPRM).

       Among other things, the Department proposed adding a new regulatory

provision, 34 C.F.R. § 106.10, to clarify that “Title IX bars all forms of sex
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discrimination, including discrimination based on … sexual orientation[] and gender

identity.” 87 Fed. Reg. at 41,532; see id. at 41,571 (proposed regulatory text). The

Department explained that “Title IX’s broad prohibition on discrimination ‘on the

basis of sex’ under a recipient’s education program or activity encompasses”

discrimination based on sexual orientation and gender identity because such

discrimination “depend[s], at least in part, on consideration of a person’s sex.” Id. at

41,532. The Department further explained that the proposed regulatory provision

would “more closely align with Title IX’s text, purpose, and principles articulated in

Federal case law,” id. at 41,534, including the Supreme Court’s decision in Bostock v.

Clayton County, see id. at 41,532 (citing 140 S. Ct. 1731 (2020)).

       The Department also proposed amending an existing regulatory provision, 34

C.F.R. § 106.31, to “[c]larify that, unless otherwise provided by Title IX or the

regulations, a recipient must not carry out any otherwise permissible different

treatment or separation on the basis of sex in a way that would cause more than de

minimis harm, including by adopting a policy or engaging in a practice that prevents a

person from participating in an education program or activity consistent with their

gender identity.” 87 Fed. Reg at 41,391; see id. at 41,571 (proposed regulatory text).

The Department explained that under Title IX and its implementing regulations there

are “limited contexts in which recipients are permitted to employ sex-specific rules or

to separate students on the basis of sex.” Id. at 41,534. The Department further

explained that “to the extent separation or different treatment based on sex imposes
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no harm or only de minimis harm, it will not amount to discrimination on the basis of

sex under Title IX.” Id. The Department clarified, however, that “prohibited harm

may result when a recipient … discriminates against one or more protected

individuals by subjecting them to more than de minimis harm on the basis of sex” and

that “a recipient subjects students to such harm when it bars them from accessing

otherwise permissible sex-separate facilities or activities consistent with their gender

identity.” Id. at 41,535 (citations omitted). At the same time, the Department

recognized that “there are circumscribed situations in which Title IX or the

regulations permit a recipient to separate students on the basis of sex, even where

doing so may cause some students more than de minimis harm.” Id. at 41,536 (citing

20 U.S.C. §§ 1681(a)(5), (6), 1686).

       The Department stated in the July 2022 NPRM that it did not propose any

particular changes to Title IX’s regulations governing athletics. See 87 Fed. Reg at

41,537. The Department explained that it planned “to address by separate notice of

proposed rulemaking the question of what criteria, if any, recipients should be

permitted to use to establish students’ eligibility to participate on a particular male or

female athletics team.” Id.

       Relevant here, the July 2022 NPRM—which was issued before the district

court’s preliminary injunction ruling, see Op. 1, R. 86, Page ID # 1942—included a

brief discussion of the Notice of Interpretation challenged by the States in this



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litigation. See, e.g., 87 Fed. Reg at 41,531 (citing 86 Fed. Reg. 32,637 (June 22, 2021)).1

The discussion was included as part of the background to the Department’s regulatory

proposals. See id. at 41,529-531 (providing detailed history of the Department’s

understanding of Title IX). The Department explained that the Notice of

Interpretation “clarif[ied]” the Department’s understanding that “Title IX’s

prohibition on sex discrimination encompasses discrimination on the basis of sexual

orientation and gender identity,” but that it “did not address how coverage of sexual

orientation and gender identity discrimination affects obligations under the current

Title IX regulations.” Id. at 41,531. The Department did not purport to rely on the

Notice of Interpretation as authority for the proposed regulatory amendments in the

July 2022 NPRM.

       The July 2022 NPRM was subject to a 60-day comment period, which closed

on September 12, 2022. 87 Fed. Reg at 41,390. The Department has not yet issued a

final rule.

       2. On April 13, 2023, the Department published in the Federal Register a

separate NPRM in which it proposed to amend Title IX’s regulations regarding

athletics. Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving

Federal Financial Assistance: Sex-Related Eligibility Criteria for Male and Female Athletic

Teams, 88 Fed. Reg. 22,860 (Apr. 13, 2023) (Athletics NPRM).


1
  The July 2022 NPRM did not discuss the Dear Educator Letter or Fact Sheet also at
issue in this litigation.
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       In the Athletics NPRM, the Department proposed amending the regulatory

provision governing prohibited sex discrimination in athletics, 34 C.F.R. § 106.41, to

provide “a regulatory standard under Title IX that would govern a recipient’s

adoption or application of sex-related criteria that would limit or deny a student’s

eligibility to participate on a male or female athletic team consistent with their gender

identity.” 88 Fed. Reg. at 22,860. The Department explained that “the proposed

regulation would not prohibit a recipient’s use of sex-related criteria altogether.” Id.

Rather, the Department proposed that “if a recipient adopts or applies sex-related

criteria that would limit or deny a student’s eligibility to participate on a male or

female athletic team consistent with their gender identity, those criteria must, for each

sport, level of competition, and grade or education level: (i) be substantially related to

the achievement of an important educational objective, and (ii) minimize harms to

students whose opportunity to participate on a male or female team consistent with

their gender identity would be limited or denied.” Id. The Department explained that

the proposed standard was consistent with both the current regulatory framework

“for providing overall equal athletic opportunity regardless of sex for students who

seek to participate in a recipient’s athletic program,” id. at 22,866, and the “statute’s

underlying goals,” id. at 22,877.

       Again, as relevant here, the Department included a short discussion of the

challenged Notice of Interpretation as part of the background to the regulatory

proposal. 88 Fed. Reg. at 22,865. The Department noted the district court’s
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preliminary injunction ruling and explained that “[t]his Athletics NPRM is not based

on the … Notice of Interpretation.” Id. at 22,865 n.6.2

       The Athletics NPRM is subject to a 30-day comment period. 88 Fed. Reg. at

22,860.

       3. The July 2022 NPRM and Athletics NPRM do not affect this case. As

proposed rules, the NPRMs are “just [] proposal[s].” In re Murray Energy Corp., 788

F.3d 330, 334 (D.C. Cir. 2015). They “do not impose any legal obligations or

prohibitions” on anyone. Id. at 336. “Any such legal obligations or prohibitions will

be established, and any legal consequences for violating those obligations or

prohibitions will be imposed, only after” and only if the Department “finalizes [the]

rule[s].” Id.; see also id. at 334 (explaining that courts thus “do not have authority to

review proposed agency rules”); cf. BellSouth Corp. v. FCC, 96 F.3d 849, 852 (6th Cir.

1996) (“To vacate the rule before the rulemaking process has run its course would

constitute a usurpation of the administrative process.”). Because the NPRMs on their

own lack any binding legal effect, they do not affect the issues before this Court or the

case more broadly.

       4. To the extent the July 2022 NPRM and Athletics NPRM have any relevancy

to this case, they illustrate that the district court erred in concluding that (1) the States

have standing to challenge the informational documents at issue here, (2) the


2
 Like the July 2022 NPRM, the Athletics NPRM did not discuss the Dear Educator
Letter or Fact Sheet.
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documents were reviewable final agency action, and (3) the States are likely to prevail

on their claim that the documents are legislative rules subject to notice and comment

rulemaking.

       a. As the government has explained, the abstract sovereign harms alleged by

the States based on “arguable” conflicts between a handful of their laws and the

interpretation of Title IX set out in the challenged informational documents are

insufficient to establish standing. Opening Br. 22-30. The speculative nature of those

alleged harms is underscored by the NPRMs. As the Department explained, while the

informational documents “clarif[ied]” its understanding that “Title IX’s prohibition

on sex discrimination encompasses discrimination on the basis of sexual orientation

and gender identity,” they “did not address how coverage of sexual orientation and

gender identity discrimination affects obligations under the current Title IX

regulations.” 87 Fed. Reg at 41,531. Indeed, whereas the NPRMs contain extensive

discussion concerning how the proposed rules, if finalized, would affect regulated

entities’ obligations under Title IX and its implementing regulations, see, e.g., id. at

41,531-537; 88 Fed. Reg. at 22,866-877, the informational documents contain nothing

of the sort. Thus, any arguable conflict between the challenged documents and the

handful of laws identified by the States is too speculative to establish Article III

standing. Cf. Arizona v. Biden, 40 F.4th 375, 385 (6th Cir. 2022) (explaining that Article

III’s “foundational standing requirements” apply to “private and public litigants

alike”).
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      The NPRMs further illustrate that the States’ standing theory fails for the

independent reason that any sovereign injury suffered by the States was neither caused

by the challenged informational documents nor redressable by an injunction

prohibiting their implementation. Opening Br. 30-31. Any such injuries would flow

from the obligations imposed by Title IX and its implementing regulations, not from

the informational documents. The July 2022 NPRM, for example, makes clear that its

proposed regulatory amendments reflect “Title IX’s text, purpose, and principles

articulated in Federal case law.” 87 Fed. Reg. at 41,534. It nowhere suggests that the

informational documents provide independent legal authority for the proposed

regulatory amendments.3 Accordingly, an injunction barring the documents’

implementation would do nothing to redress the States’ supposed harms.

      b. The NPRMs also demonstrate that the informational documents are not

final agency action subject to judicial review. See Opening Br. 36-42. Like the

proposed rules, the informational documents do “not impose liability, determine legal

rights or obligations, or mandate, bind, or limit other government actors.” Parsons v.

U.S. Dep’t of Justice, 878 F.3d 162, 169 (6th Cir. 2017). As the Department explained in



3
 The Athletics NPRM was issued after the district court’s injunction in this case and
because the Department did not rely on the informational documents in issuing that
NPRM, see 88 Fed. Reg. at 22,865 n.6, there was no conflict with the government’s
notice of compliance, see Notice, R. 97, Page ID # 2057. Although the July 2022
NPRM predates the district court’s injunction, the Department also did not suggest
that the informational documents provided authority for the proposed regulatory
amendments.
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the July 2022 NPRM, while the documents informed the Department’s “investigation

of complaints,” they did not “dictate the outcome in any particular case or set of

facts,” much less “address” regulated entities’ “obligations under the current Title IX

regulations.” 87 Fed. Reg. at 41,531. What’s more, a simple comparison between the

informational documents and the NPRMs—which cover several hundred pages of the

Federal Register and which, if finalized, would be final agency action—shows that in

form, scope, and purpose, the informational documents lack the “telltale signs” of

having “direct or appreciable legal consequences” and thus being reviewable agency

action. Arizona, 40 F.4th at 388 (quotation marks omitted).

       c. The Department’s NPRMs also make clear that the informational

documents are not legislative rules subject to the requirements of notice and comment

rulemaking. Opening Br. 47-55; see 5 U.S.C. § 553(b)(A) (providing that only

legislative rules are subject to those procedural requirements). While the NPRMs’

proposed regulatory amendments, if finalized, would be legislative rules that would

“have the force and effect of law,” “create new law, rights or duties,” and “effect a

substantive change in [Title IX’s] regulations,” Tennessee Hosp. Ass’n v. Azar, 908 F.3d

1029, 1042 (6th Cir. 2018) (cleaned up), the challenged informational documents do

none of those things. Instead, the documents “simply state[] what the administrative

agency thinks the statute means.” Id. (quotation marks omitted). Such informational

documents, if they are rules at all, see 5 U.S.C. § 551(4), are not legislative rules

required to go through notice and comment rulemaking. Id.; cf. POET Biorefining, LLC
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v. EPA, 970 F.3d 392, 408 (D.C. Cir. 2020) (“[E]ven a consequential, conduct-altering

rule remains interpretive so long as it can fairly be viewed as interpreting—even

incorrectly—a statute or regulation.” (quotation marks omitted)).

                                           ***

      The States no doubt “are champing at the bit to challenge” the Department’s

understanding of Title IX’s prohibition on sex discrimination. In re Murray Energy

Corp., 788 F.3d at 333. But that provides no grounds to disregard bedrock

jurisdictional and administrative law principles that preclude judicial review of the

informational documents challenged here.


                                         Sincerely,

                                         s/ David L. Peters
                                         David L. Peters
                                         U.S. Department of Justice
                                         Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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